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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

AMERICAN AIRLINES, INC.,                            §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §   Civil Action No. 4:23-cv-00775-P
                                                    §
KIWI.COM, INC. and KIWI.COM S.R.O.,                 §
                                                    §
        Defendant.                                  §

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff American Airlines, Inc. (“American”) and Defendants Kiwi.com, Inc. and

Kiwi.com s.r.o. (collectively, “Kiwi”), through their respective counsel and pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii), hereby file this Joint Stipulation of Dismissal with

Prejudice.

        The Parties have entered into a confidential settlement agreement resolving the underlying

issues in the above-captioned case. Accordingly, the Parties stipulate and agree that all of

American’s claims against Kiwi in this matter shall be dismissed with prejudice.

        The Parties further stipulate and agree that each party will bear its own attorneys’ fees,

costs, and expenses in this matter.




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Dated: February 13, 2024                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on February 13, 2024, I served the foregoing document electronically in

accordance with the Federal Rules of Civil Procedure.


                                            /s/ Dee J. Kelly, Jr.
                                            Dee J. Kelly, Jr.




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